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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

    DELTA AIR LINES, INC.,                 )
                                           )
          Plaintiff,                       )
                                           )    CASE NO.1:13-CV-03388-MHC
    vs.                                    )
                                           )
    JOHN WUNDER, et al.,                   )
                                           )
          Defendants.                      )

           PLAINTIFF DELTA AIR LINES, INC.’S MOTION TO SEVER
              DEFENDANTS MEREDITH STAM AND PRESCIENT
          MARKETING, LLC AND MEMORANDUM OF LAW IN SUPPORT

          Plaintiff Delta Air Lines, Inc. (“Delta”) hereby moves the Court for an Order,

pursuant to Federal Rule of Civil Procedure 21, severing Defendants Meredith Stam1

(“Stam”) and Prescient Marketing, LLC (“Prescient”) into a separate case for

purposes of judicial economy and the efficient administration of Delta’s case against

these defendants. In support of its motion, Delta shows this Honorable Court as

follows:

                               I. SUMMARY OF ARGUMENT

          Delta’s case against Stam and Prescient should be severed into a separate

action because discovery has only just begun as to Stam. Stam and Prescient are


1
    Originally identified by her former name, Meredith Sarver.
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linked because of Stam’s personal participation in Prescient’s infringing and tortious

conduct, and they are properly paired as a single unit of co-defendants. Delta’s case

against the other Defendants is drawing to a close, but the case against Stam has only

just begun in earnest.2 The Court previously used this same procedure to sever other

co-defendants that, although properly joined in the initial action, were better served

by having the claims against them split off into separate actions.          [DE 164].

Therefore, the efficient administration of justice and the interests of the parties are

best served by separating the case against Stam and Prescient pursuant to Federal

Rule of Civil Procedure 21.

                              II. STATEMENT OF THE CASE

A.    Factual Background

      As is explained in detail in Delta’s Preliminary Injunction Motion3, the

defendants (collectively, “Defendants”) – including Stam and Prescient – have,

pursuant to a massive illegal enterprise, misappropriated in bad faith and for profit


2
  Service on Stam was initially delayed because Delta was unaware of the change in
her last name and because Stam, despite being present, failed to identify herself to US
Marshals when they executed this Court’s Order [DE 11] and attempted to affect
service upon all named defendants at the Wunder Defendants’ offices on December
17, 2013.
3
  Delta’s Motion for Temporary Restraining Order, Preliminary Injunction, Ex Parte
Seizure Order, and Expedited Discovery and Memorandum of Fact and Law in
Support Thereof [DE 10] (the “Preliminary Injunction Motion”), which was filed on
December 9, 2013.
                                          2
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Delta’s protected name and marks, including, but not limited to, the venerable

DELTA Mark, Delta’s iconic WIDGET LOGO Mark, and Delta’s famous

SKYMILES Mark (collectively, with Delta’s other registered marks, the “Delta

Marks”). (Preliminary Injunction at 1-22). Stam’s personal participation in the

Defendants’ tortious and intentionally infringing conduct is further described in detail

in Delta’s Response in Opposition to Stam’s Motion to Dismiss for Lack of Personal

Jurisdiction [DE 280]. In sum, Stam was an executive who participated in the day-

to-day management and administration of Prescient and other related Defendants

(generally, those entities connected to defaulting Defendant John Wunder), which

engaged in tortious and intentionally infringing conduct, including, without

limitation, the manufacture and distribution of counterfeit Delta Marks. (Id.) While

Stam has denied these claims, this Court already held in its Order [DE 343] denying

Stam’s Motion to Dismiss for Lack of Personal Jurisdiction that sufficient evidence

exists that Stam personally participated in the tortious conduct of Prescient and the

related corporate Defendants associated with Defendant John Wunder. [DE 343].

B.    Relevant Procedural History

      On July 24, 2015, the Court entered its Order [DE 343] denying Stam’s Motion

to Dismiss for Lack of Personal Jurisdiction. As a result, Stam filed her Answer [DE

349] to Delta’s Second Amended Complaint on August 3, 2015. Thus, Delta’s time


                                           3
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to take discovery in relation to Stam began on September 2, 2015. See LR 26.2(A)

(stating that discovery generally begins 30 days after a defendant answers). For this

reason, Delta’s case against Stam and Prescient is out of sync timewise and

procedurally with its case against the other Defendants. Delta’s undersigned counsel

sought Stam’s agreement to sever the case against her so that it may be dealt with

separately and on a different discovery track from the remainder of this case, but, by

and through her counsel, Stam refused to consent. As a result, Delta now brings the

instant motion.

                                   II. ARGUMENT

      Federal Rule of Civil Procedure 21 states, in pertinent part: “On motion or on

its own, the court may at any time, on just terms, add or drop a party. The court may

also sever any claim against a party.” Fed. R. Civ. P. 21. Along with Rule 15(e)

pertaining to amendment of pleadings, the Court’s authority to add or drop parties

and sever claims pursuant to Rule 21 should be liberally construed. FTD Corp. v.

Banker's Trust Co., 954 F. Supp. 106, 109 (S.D.N.Y. 1997). Even when a party has

been properly joined as a co-defendant, the case against that party may still be

severed into a separate action to promote the efficient administration of justice and

for other reasons. See FDIC v. McGlamery, 74 F.3d 218, 222 (10th Cir. 1996); U.S.

v. O’Neil, 709 F.2d 361, 367 (5th Cir. 1983).


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      Here, there is no dispute that Stam is properly joined as a co-defendant, but

Delta nonetheless moves this Court to sever the case against Stam and Prescient so

that it may proceed separately from the case against the other Defendants, with

respect to whom briefing will soon close on dispositive motions. Delta’s case against

Stam and Prescient is only just beginning in earnest while its case against the other

Defendants is drawing to a close. As a result, the efficient administrative of justice

requires that the cases be dealt with separately, and the best way to achieve that result

is to sever the case against Stam and Prescient. This will allow Delta’s case against

Stam and Prescient to proceed through an orderly discovery process while its case

against the remaining Defendants proceeds to summary disposition or trial.

      Respectfully submitted this 24th day of September, 2015.

                                      WELLBORN, WALLACE & WOODARD, LLC

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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

DELTA AIR LINES, INC.,                                    )
                                                          )
             Plaintiff,                                   )
v.                                                        )
                                                          ) Case No.
JOHN WUNDER et al.,                                       ) 1:13-CV-03388-MHC
                                                          )
             Defendants.                                  )

     RULE 7.1 CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

       This certifies that the foregoing Motion to Sever was prepared using 14 point

Times New Roman font and accordingly complies with Local Rule 5.1. This

certificate is given in compliance with Local Rule 7.1(D).

       This 24th day of September, 2015.

                                     WELLBORN, WALLACE & WOODARD, LLC

                                     /s/ Jamie P. Woodard
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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

DELTA AIR LINES, INC.,                                                )
                                                                      )
                Plaintiff,                                            )
v.                                                                    )
                                                                      ) Case No.
JOHN WUNDER et al.,                                                   ) 1:13-CV-03388-MHC
                                                                      )
                Defendants.                                           )


                                CERTIFICATE OF SERVICE

       I hereby certify that on September 24, 2015, I electronically filed this

Motion to Sever with the Clerk of Court using the CM/ECF system which will

automatically send e-mail notification or other sufficient notice of such filing to the

following attorneys of record:

           Counsel For                      Attorney                     E-mail Address
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 Christi Wigle


       I further certify that on this date, I served the following parties by placing a

copy of the referenced filing with the United States Postal Service for delivery via

first-class mail in an envelope with adequate postage affixed thereto addressed as

follows:

 JD& T Enterprises, Inc.                    Chelsee Fly
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 c/o SmallBiz Agents              Charleston, S.C. 29412
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 Mail to You, LLC                           Delta Sky Rewards, LLC
 c/o SmallBiz Agents                        c/o SmallBiz Agents
 7300 Yellowstone Rd., Suite 10             7300 Yellowstone Rd., Suite 10
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 Mailhouse, LLC                             SB Global Marketing, LLC
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